      Case 22-05001-gs          Doc 53   Entered 09/26/22 15:09:32         Page 1 of 3




     Jeffrey L. Hartman, Esq.             Michael S. Budwick, Esq. #938777 – Admitted Pro Hac Vice
 1
     Nevada Bar No. 1607                  Solomon B. Genet, Esq. #617911 – Admitted Pro Hac Vice
 2   HARTMAN & HARTMAN                    Meaghan E. Murphy, Esq. #102770 – Admitted Pro Hac Vice
     510 W. Plumb Lane, Suite B           Gil Ben-Ezra, Esq. #118089 – Admitted Pro Hac Vice
 3   Reno, NV 89509                       Alexander E. Brody, Esq. #1025332 – Admitted Pro Hac Vice
     T: (775) 324-2800                    MELAND BUDWICK, P.A.
 4                                        3200 Southeast Financial Center
     F: (775) 324-1818
 5   notices@bankruptcyreno.com           200 South Biscayne Boulevard
                                          Miami, Florida 33131
 6                                        T: (305) 358-6363
                                          F: (305) 358-1221
 7                                        mbudwick@melandbudwick.com
 8                                        sgenet@melandbudwick.com
                                          mmurphy@melandbudwick.com
 9                                        gbenezra@melandbudwick.com
                                          abrody@melandbudwick.com
10
11 Attorneys for Christina W. Lovato, Chapter 7 Trustee
12                              UNITED STATES BANKRUPTCY COURT
                                       DISTRICT OF NEVADA
13   In re                                                Lead Case No.: BK-19-50102-gs
14                                                        (Chapter 7)
     DOUBLE JUMP, INC.
15                                                        Substantively consolidated with:
                 Debtor.                                   19-50130-gs DC Solar Solutions, Inc.
16                                                         19-50131-gs DC Solar Distribution, Inc.
17                                                         19-50135-gs DC Solar Freedom, Inc.

18   CHRISTINA W. LOVATO,                                 Adversary No.: 22-05001-gs
19           Plaintiff,                                   STATUS REPORT PURSUANT TO THIS
20   v.                                                   COURT’S ORDER DIRECTING
                                                          SUBMISSION OF STATUS REPORT AND
21                                                        SETTING STATUS CONFERENCE [ECF
     AHERN RENTALS, INC. and XTREME
22   MANUFACTURING, LLC,                                  NO. 48]

23                        Defendants.
24           Christina W. Lovato, as chapter 7 trustee and plaintiff (“Trustee”) in the above-captioned
25   adversary    proceeding     (“Adversary”),   together    with   the   above-captioned   defendants
26   (“Defendants,” and with the Trustee, the “Parties”) provide this status report pursuant to this
27   Court’s Order directing submission of status report [ECF No. 48] which followed this Court’s
28   status hearing conducted on August 11, 2022.



                                                      1
      Case 22-05001-gs         Doc 53     Entered 09/26/22 15:09:32        Page 2 of 3




            I.      Status of Adversary Proceeding
 1
            As reflected on the docket, the Trustee has filed an operative complaint, the Defendants
 2
     has filed an Answer (which includes affirmative defenses), and the Court has entered a Scheduling
 3
     Order. The Parties have been in direct communication and have begun the process of written
 4
     discovery. The Parties have also begun communicating about deposition discovery.
 5
            As also reflected on the docket, the Trustee filed a motion for partial summary judgment
 6
     but has voluntarily withdrawn that motion without prejudice.
 7
            II.     Status Conference
 8
            The Parties do not believe that a status conference is necessary on October 6, 2022.
 9
     However, the Parties expect that a status conference approximately 45 days from October 6, 2022
10
     will be productive, and request one at that time subject to the Court’s availability.
11
            DATED: September 26, 2022.
12
                                                   HARTMAN & HARTMAN
13
14                                                 /s/ Jeffrey L. Hartman
                                                   Jeffrey L. Hartman, Esq.,
15                                                 Attorney for Plaintiff Christina W. Lovato
16
                                                   MELAND BUDWICK, P.A.
17
                                                   /s/ Meaghan E. Murphy
18                                                 Michael S. Budwick, Esq., Admitted Pro Hac Vice
19                                                 Solomon B. Genet, Esq., Admitted Pro Hac Vice
                                                   Meaghan E. Murphy, Esq., Admitted Pro Hac Vice
20                                                 Gil Ben-Ezra, Esq., Admitted Pro Hac Vice
                                                   Alexander E. Brody, Esq., Admitted Pro Hac Vice
21                                                 Attorneys for Plaintiff Christina W. Lovato
22
                                                   FOX ROTHSCHILD LLP
23
                                                   /s/ Kevin McCarrell
24                                                 Kevin McCarrell, Esq., Attorney for Defendants
25
26
27
28



                                                       2
      Case 22-05001-gs       Doc 53     Entered 09/26/22 15:09:32       Page 3 of 3




 1
                                     CERTIFICATE OF SERVICE
 2
            I certify that on September 26, 2022, I caused to be served the following document(s):
 3
                  STATUS REPORT PURSUANT TO THIS COURT’S ORDER
 4              DIRECTING SUBMISSION OF STATUS REPORT AND SETTING
                          STATUS CONFERENCE [ECF NO. 48]
 5
            I caused to be served the above-named document(s) as indicated below:
 6
            ✔ a. Via ECF to:
 7
                   ALEXANDER E. BRODY abrody@melandbudwick.com
 8                 ltannenbaum@melandbudwick.com ltannenbaum@ecf.courtdrive.com
                   mrbnefs@yahoo.com
 9                 MICHAEL S. BUDWICK mbudwick@melandbudwick.com
10                 ltannenbaum@melandbudwick.com ltannenbaum@ecf.courtdrive.com
                   MARK J. CONNOT mconnot@foxrothschild.com dloffredo@foxrothschild.com
11                 SOLOMON B. GENET sgenet@melandbudwick.com
                   ltannenbaum@melandbudwick.com ltannenbaum@ecf.courtdrive.com
12                 JEFFREY L HARTMAN notices@bankruptcyreno.com
                   abg@bankruptcyreno.com
13
                   CHRISTINA W. LOVATO trusteelovato@att.net NV26@ecfcbis.com
14                 M. KEVIN MCCARRELL kmccarrell@foxrothschild.com
                   MEAGHAN E. MURPHY mmurphy@melandbudwick.com
15
16           ✔ b. Direct Email to:

17                  Mark J. Connot, Esq.
                    Kevin M. Sutehall, Esq.
18                  Colleen E. McCarty, Esq.
                    mconnot@foxrothschild.com
19
                    ksutehall@foxrothschild.com
20                  cmccarty@foxrothschild.com

21          ✔ c. Via Mail Service: Regular, first-class United States mail, postage fully pre-paid,
22   addressed to:

23                   Ahern Rentals, Inc.                Xtreme Manufacturing, LLC
                     1401 Mineral Ave.                  8350 Eastgate Rd.
24                   Las Vegas, NV 89106                Henderson, NV 89015
25
            DATED: September 26, 2022.
26
                                         /s/ Meaghan E. Murphy
27                                       Meaghan E. Murphy, Esq.
28



                                                    3
